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                   EXHIBIT 2
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                Declaration   of Terrebonne    Port Commission

1.    My name is David Rabalais. I am over the age of 18 and am competent to make
      this declaration. The facts set forth in this declaration are based on my
      personal knowledge.

2.    I am the Executive Director of Terrebonne Port Commission.

3.    Terrebonne Port is located in Terrebonne Parish and near the intersection of
      the Houma Navigation Canal and the Intracoastal Waterway. The Terrebonne
      Port is comprised of 200 acres acres of developed land and 400 acres of raw
      developable land.

4.    Terrebonne Port is strategically located 36 miles from the Gulf of Mexico and
      inside the Morganza to the Gulf Hurricane Protection system. The Morganza
      System allows thousands of residents to live and work in this area.

5.    The Legislature established the Terrebonne Port Commission as a political
      subdivision of the State of Louisiana in 1964 Act No. 485 then redesignated as
      Chapter 23 of Title 34, R.S. 34:221 to 34:2205. The Commission board is
      comprised of seven members serving six-year terms. They oversee policy
      decisions that govern the Port and have the authority to levy taxes, and lease
      property, among other things.

6.    Over 10,000 jobs and many companies in this region depend on Terrebonne
      Port to navigate issues that affect their livelihood.

7.    Terrebonne Port is a fabrication hub for marine fabrication and repair. The
      nation's oil & gas industry along with government and private vessels are
      served by the Terrebonne Port.

8.    Terrebonne Port Companies have fabricated jackets and decks for the wind
      energy industry and are perfectly positioned to be a main fabricator for this
      industry in the future.

9.    Terrebonne Port's jurisdiction is the entire parish of Terrebonne. The four top
      companies located in the port are Eddison Chouest Offshore (LaShip),
      Bollinger Shipyard, Thomasea and Morrison Energy. These 4 companies alone
      employ 6,000 workers with yearly salaries that range from $50,000 to
      $200,000. Many other companies are located within the port's jurisdiction
      employing thousands of additional workers.



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10.    Terrebonne Port has developed and grown along with the maritime, oil and
       gas, and wind energy industries. The Morganza to the Gulf Hurricane
       Protection System provides protection from flooding in this region. It was
       successfully tested in 2021 when this region took a direct hit from Hurricane
       Ida. The Port cannot simply relocate due to an increased flood risk.

11.    Terrebonne Port can't relocate its facilities, and the increased cost of
       flood insurance is harming the Port.

12.    Risk Rating 2.0 imposes additional costs on Terrebonne Port and the
       industries based out of the Port.

13.    FEMA requires Terrebonne Port and this region to maintain flood insurance
       through the NFIP. Terrebonne Port only owns a few buildings, but the
       industries own hundreds. Risk 2.0 could kill what this region has built over
       the last 60 years.

14.    Prior to Risk Rating 2.0, Terrebonne Port's industries paid thousands
       m premiums for flood policies.

15.    After Risk Rating 2.0, Terrebonne Port's industries will have to pay tens
       of thousands in premiums for flood policies. Risk Rating 2.0 will
       eventually prevent this region's work force from living in this region.

16.    Risk Rating 2.0 also inhibits the companies' ability to attract workers to
       serve all the companies based out of the Port.

17.    To avoid any disruption to Terrebonne Port's activities, it is important that it
       maintains a strong and dependable labor force.

18.    Port workers need to live within 25 miles of the Port in order to perform their
       jobs. Truck and vessel arrival times are not always predictable, and cargo
       needs to be unloaded quickly and safely upon arrival resulting in irregular
       working hours.

19.    In recent times, the companies in this region struggled to find workers to
       fill job needs. Many jobs went unfilled, which caused this region to lose
       projects to other regions.

20.    If the industries in this region are unable to attract workers and maintain
       their current operations, the losses will be felt across the country.


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21.    After Hurricane Ida, many of Terrebonne Port's activities were suspended. The
       consequences of this were felt across the country. For example, gas prices
       increased by over $2 a gallon.

22.    While Terrebonne Port has the ability to bounce back after a storm like
       Hurricane Ida, the loss of workers will likely prolong its inability to operate
       at full capacity.

23.    This region pioneered marine fabrication and repair and has perfected this
       trade over the last 60 to 80 years. The craftsmen in this region are second to
       none. With the looming wind energy industry knocking on our doorstep the
       entire country stands to lose a very well positioned and well-trained work force
       that can readily handle this work. If Terrebonne loses its workforce, it will
       affect both federal and state tax collection.

I declare under penalty of perjury that the foregoing is true and correct.

Executed in Houma, Louisiana, this 7th day of June 2023.



D�J f�
David Rabalais
Executive Director




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